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                             IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLORADO
                                     Judge Raymond P. Moore

  Civil Action No. 12-cv-03077-RM-KLM
  (Consolidated with Civil Action No. 13-cv-01217-RM-KLM)

  FIDELITY NATIONAL TITLE INSURANCE COMPANY, a California corporation,

         Plaintiff,

  v.

  PITKIN COUNTY TITLE, INC.

        Defendant.
  ______________________________________________________________________________

                                     ORDER
  ______________________________________________________________________________

         This matter is before the Court on Plaintiff/ Judgment Creditor Fidelity National Title

  Insurance Company’s Verified Traverse of Garnishee First Bank’s Answer to the Writ of

  Garnishment and Request for Hearing (ECF No. 365). Judgment Creditor has filed numerous

  applications for writs of garnishment in this matter, against both Garnishee First Bank and other

  garnishees. Specifically, with regard to First Bank, Judgment Creditor has filed three

  applications for writs of garnishment and the Court has issued three writs of garnishment

  pursuant to those applications. (ECF Nos. 346, 347, 354, 355, 356, 357.) Judgment Creditor

  specifies that this Traverse relates only to the Third Writ of Garnishment and Garnishee’s related

  Answer (ECF Nos. 357, 359). That writ sought $247,446.49 that Judgment Creditor asserts is

  held by Garnishee in the account of Judgment Debtor Pitkin County Title, Inc. (ECF No. 357.)

  Garnishee’s answer indicated that it had “No Account” belonging to Judgment Debtor. (ECF

  No. 359.) After reviewing the same, the Court concludes that Judgment Creditor is entitled to a

  hearing. It is therefore
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        (1) ORDERED that a hearing shall be set for 1:00 p.m. on December 1, 2021, in

           Courtroom A601 on the Sixth Floor of the Alfred A. Arraj United States

           Courthouse located at 901 19th Street, Denver, Colorado;

        (2) ORDERED that the Judgment Creditor Fidelity National Title Insurance Company

           shall serve Garnishee First Bank with notice of this hearing and shall file a certificate

           of service with the Court; and

        (3) ORDERED that First Bank shall deposit funds in the amount of two hundred forty-

           seven thousand four hundred and forty-six dollars and forty-nine cents ($247,446.49)

           into the registry of the United States District Court for the District of Colorado. That

           First Bank shall make a check payable to the Clerk of the United States District Court

           in that amount and cause the check to be delivered to the address of 901 19th Street,

           Room A-105, Denver, Colorado 80294-3589.

        DATED this 3rd day of November, 2021.

                                                      BY THE COURT:



                                                      ____________________________________
                                                      RAYMOND P. MOORE
                                                      United States District Judge




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